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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                     :
                                              :
      v.                                      :    Case No. 23-cr-00278-JKB
                                              :
CHRISTOPHER KENJI BENDANN,                    :
    Defendant.                                :


                           NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance on behalf of the Defendant, Christopher Kenji Bendann,

in the above-captioned criminal cause, Nunc Pro Tunc to February 11, 2025. This

appearance is lodged in connection with undersigned counsel representing Defendant

Bendann in the U.S. Court of Appeals for the Fourth Circuit, Appeal No. 25-4033.

                                      Respectfully Submitted,


                                       Allen H. Digitally           signed by
                                                           Allen H. Orenberg

                                       Orenberg            Date: 2025.02.19
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                                      _____________________________
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Dated: February 19, 2025


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